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               IN THE UNITED STATES DISTRICT COURT

                    FOR THE DISTRICT OF DELAWARE

SAMUEL I. KOENIG, Derivatively on
Behalf of BUTTERFLY NETWORK, INC.
F/K/A LONGVIEW ACQUISITION        Case No.: 1:22-cv-00825-MN
CORPORATION I

             Plaintiff,

      vs.

TODD M. FRUCHTERMAN,
JONATHAN M. ROTHBERG, LARRY
ROBBINS, DAWN CARFORA, ELAZER
EDELMAN, JOHN HAMMERGREN,
GIANLUCA PETTITI, LOUISE
PHANSTIEL, and ERICA SCHWARTZ,

             Defendants,

- and -

BUTTERFLY NETWORK, INC. F/K/A
LONGVIEW ACQUISITION
CORPORATION I

            Nominal Defendant.


                          STIPULATION AND ORDER
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         WHEREAS, on June 21, 2022, Plaintiff Samuel I. Koenig (“Plaintiff”) filed a

stockholder derivative complaint (the “Complaint”) in the United States District

Court for the District of Delaware on behalf of Butterfly Network, Inc. F/K/A

Longview Acquisition Corporation I (“Butterfly” or the “Company”) against Todd

M. Fruchterman, Jonathan M. Rothberg, Larry Robbins, Dawn Carfora, Elazer

Edelman, John Hammergren, Gianluca Pettiti, Louise Phanstiel, and Erica Schwartz

(the “Individual Defendants”) and Nominal Defendant Butterfly (together with

Individual Defendants, the “Defendants”) in the above-captioned case (the

“Derivative Action”);

         WHEREAS, counsel for Plaintiff and Defendants (the “Parties”) have

conferred regarding the status of the Derivative Action and the appropriate next

steps;

         WHEREAS, the Derivative Action involves overlapping parties and factual

allegations with a related federal securities class action captioned Rose v. Butterfly

Network, Inc., et al., No. 2:22-cv-00854 (D. N.J.), in which lead plaintiff Craig M.

Rose asserts federal securities law violations against Butterfly, Longview

Acquisition Corp., Todd M. Fruchterman, Stephanie Fielding, Jonathan M.

Rothberg, John Rodin, Larry Robbins, Mark Horowitz, Westley Moore, Derek

Cribbs and Randy Simpson seeking recovery of investment losses suffered by




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purchasers of Butterfly stock during the period February 16, 2021 through

November 15, 2021 (the “Securities Class Action”);

      WHEREAS, based upon the overlapping parties and factual allegations

contained in the Derivative Action and the Securities Class Action, and to avoid the

unnecessary expenditure of judicial resources, the Parties have agreed, subject to this

Court’s approval, to temporarily stay proceedings in the Derivative Action.

      NOW, THEREFORE, it is hereby STIPULATED and ORDERED that:

      1.     Defendants agree that their undersigned counsel shall be deemed to

have accepted service of the Complaint on their behalf in the Derivative Action as

of the date of this Stipulation;

      2.     All proceedings in the Derivative Action, including any obligation to

respond to the operative complaint, and all discovery obligations under applicable

rules, shall be stayed until there is a ruling on the motion to dismiss in the Securities

Class Action. If the court grants the motion to dismiss with leave to amend and the

plaintiffs in the Securities Class Action file an amended securities class action

complaint, this Derivative Action shall remain stayed until the Court rules on a

motion to dismiss the amended securities class action complaint;

      3.     Any Party may terminate the stay upon 30-days’ notice to all Parties;

      4.     Defendants shall promptly notify Plaintiff if and when they become

aware of any derivative lawsuits filed in any forum following entry of this


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Stipulation and Order, or any stockholder books and records or litigation demands,

that allege the same, similar or related misconduct as that alleged in the Derivative

Action;

      5.     Should a later-filed derivative action as described in paragraph 4 above

be filed, Defendants shall promptly notify Plaintiff if a court does not stay a related

derivative lawsuit for the same or a longer duration;

      6.     If another stockholder (using separate counsel from Plaintiff’s counsel)

files a separate stockholder derivative lawsuit after pursuing a books-and-records

inspection demand pursuant to 8 Del. C. § 220 concerning the same, similar or

related subject matter as the Derivative Action, Defendants agree to provide to

Plaintiff the books and records produced to the other stockholder upon Plaintiff’s

execution of a confidentiality agreement that is acceptable to Defendants;

      7.     During the stay, Defendants shall include Plaintiff in any settlement

mediation or conference for the Securities Class Action or any related derivative

action;

      8.     During the stay, Plaintiff may file an amended complaint, but

Defendants need not answer, move, or otherwise respond thereto during the

pendency of the stay;

      9.     Within thirty (30) days after the stay is lifted for any reason, the Parties

shall meet and confer and submit a proposed schedule to the Court;


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      10.    This Stipulation is without prejudice to the right of any Defendant to

raise any and all arguments or defenses concerning the claims raised in the

Derivative Action. By entering into this Stipulation, each Defendant preserves all

objections and challenges of any kind;

      11.    This Stipulation is without prejudice to the right of Plaintiff to raise any

and all arguments or claims. By entering into this Stipulation, Plaintiff preserves all

claims of any kind;

      12.    This stay shall not apply to any motions, stipulations, or any other

related filings pertaining to the consolidation of any related stockholder derivative

actions and/or appointment of lead plaintiff(s) and lead and liaison counsel; and

      13.    All deadlines and hearings will be postponed until after the stay is lifted.




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August 12, 2022                       COOCH AND TAYLOR, P.A.

                                      /s/ Blake A. Bennett
                                      Blake A. Bennett (#5133)
Of Counsel:                           Andrew A. Ralli (#6733)
                                      The Brandywine Building
David C. Katz                         1000 N. West Street, 10th Floor
Mark D. Smilow                        Wilmington, DE 19801
Joshua M. Rubin                       Telephone: (302) 984-3889
WEISS LAW                             Email: bbennett@coochtaylor.com
305 Broadway, 7th Floor               Telephone: (302) 984-9821
New York, NY 10007                    Email: aralli@coochtaylor.com
Telephone: (212) 682-3025
Facsimile: (212) 682-3010            Counsel for Plaintiff
Email: dkatz@weisslawllp.com
       msmilow@weisslawllp.com
       jrubin@weisslawllp.com


OF COUNSEL:                            HEYMAN ENERIO
                                       GATTUSO & HIRZEL LLP
John F. Sylvia
MINTZ, LEVIN, COHN, FERRIS,            /s/ Patricia L. Enerio
GLOVSKY and POPEO, P.C.                Patricia L. Enerio, Esquire
One Financial Center                   300 Delaware Avenue, Suite 200
Boston, Massachusetts 02111            Wilmington, DE 19801
(617) 542-6000                         Telephone: (302) 472-7300
                                       Email: penerio@hegh.law

                                      Attorneys for Defendants Todd M. Fruchterman,
                                      Jonathan M. Rothberg, Larry Robbins, Dawn
                                      Carfora, Elazer Edelman, John Hammergren,
                                      Gianluca Pettiti, Louise Phanstiel, and Erica
                                      Schwartz and Nominal Defendant Butterfly
                                      Network, Inc.

  SO ORDERED this 15th day of August 2022.

                                            ____________________________
                                            The Honorable Maryellen Noreika
                                            United States District Judge
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